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				BOSSE v. STATE2017 OK CR 19Case Number: D-2012-1128Decided: 07/24/2017SHAUN MICHAEL BOSSE, Appellant, v. THE STATE OF OKLAHOMA, Appellee.
Cite as: 2017 OK CR 19, __  __

				

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ORDER WITHDRAWING MANDATE, GRANTING PETITION FOR REHEARING
AND DENYING RELIEF, AND ISSUING MANDATE 


¶1 Shaun Michael Bosse was tried by jury and convicted of Counts I, II and III, First Degree Murder in violation of 21 O.S.Supp.2009, § 701.7(A); and Count IV, First Degree Arson in violation of 21 O.S.2001, § 1401(A), in the District Court of McClain County, Case No. CF-2010-213. For each of Counts I-III, the jury found that Bosse knowingly created a great risk of death to more than one person, that each murder was heinous, atrocious or cruel, and that each murder was committed for the purpose of avoiding or preventing a lawful arrest or prosecution. In accordance with the jury's recommendation the Honorable Greg Dixon sentenced Bosse to three sentences of death (Counts I-III), and thirty-five (35) years imprisonment and a fine of $25,000.00 (Count IV), to run consecutively. This Court affirmed Bosse's convictions and sentences. Bosse v. State, 2017 OK CR 10, __ P.3d __.

¶2 Bosse has now filed with this Court a Petition for Rehearing. A Petition for Rehearing shall be filed for two reasons only:

(1) That some question decisive of the case and duly submitted by the attorney of record has been overlooked by the Court, or

(2) That the decision is in conflict with an express statute or controlling decision to which the attention of this Court was not called either in the brief or in oral argument.

Rule 3.14, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (2017). Bosse correctly notes that our resolution of Proposition XV omitted a portion of the Court's analysis. In addressing Bosse's claim of cumulative error, the Opinion notes the Court had found only one error in previous propositions, and determined that error was harmless beyond a reasonable doubt. 2017 OK CR 10, ¶ 93, __ P.3d __. The Court found error in both Proposition VII and Proposition IX, and found both errors harmless beyond a reasonable doubt. Cumulative error does not require relief where the errors, considered together, do not affect the outcome of the proceedings. Postelle v. State, 2011 OK CR 30, ¶ 94, 267 P.3d 114, 146. Proposition XV is DENIED.

¶3 The Mandate issued on May 25, 2017 in this case is WITHDRAWN. Bosse's Petition for Rehearing is GRANTED. Relief is DENIED. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2017), the MANDATE is ORDERED issued upon the delivery and filing of this Order.

¶4 IT IS SO ORDERED.

¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 24th day of July, 2017.


/S/GARY L. LUMPKIN, Presiding Judge

/S/DAVID B. LEWIS, Vice Presiding Judge

NOT PARTICIPATING 
ARLENE JOHNSON, Judge

/S/ROBERT L. HUDSON, Judge


ATTEST:

Michael S. Richie
Clerk








	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2011 OK CR 30, 267 P.3d 114, POSTELLE v. STATEDiscussed
&nbsp;2017 OK CR 10, 400 P.3d 834, BOSSE v. STATEDiscussed
Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 701.7, Murder in the First DegreeCited
&nbsp;21 O.S. 1401, Arson in the First Degree - PunishmentCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
